       Case 1:20-mj-11389-UA Document 3 Filed 11/04/20 Page 1 of 1



                                                                                                      March 31, 2020


UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------------X
UNITED STATES OF AMERICA,                                                         CONSENT TO PROCEED BY
                                                                                  VIDEOCONFERENCE
                             -v-
                                                                                  _ _-CR-_ _ _(_) L )
                '                                                                    20 MAG 11389
       J1y:J_
____-(__   ~J>)      I )'V0 ~fendant(s).
                             _____________________________________ x
              ________________
                                      .
Defendant
participa
                         4-f.
                       t.? If I V\..v               ~  hereby voluntarily consents to
          n the following proceeding via videoconferencing:

         Initial Appearance/Appointment of Counsel

         Arraignment (If on Felony Informat ion, Defendant Must Sign Separate Wa iver of
         Indictment Form)

_        Preliminary Hearing on Felony Complaint

v<.il/Revocation/Detention Hearing

         Status and/or Scheduling Conference

         Misdemeanor Plea/Trial/Sentence




Defendant's Signature
(Judge may obtain verbal consent on
Record and Sign for Defendant)



Print Defendant's Name                                                 Print Defense Counsel's Name



This proceeding was conducted by reliable videoconferencing technology.


    11/4/2020
Date                                                                   U.S. Magist rate Judge
